     Case 8:19-cv-01212-FLA-JDE Document 23 Filed 10/09/19 Page 1 of 8 Page ID #:121



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 8                           UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10

11                                          )
      PAVEL FUKS, an individual,            )       CASE NO.: 8:19-cv-1212- JVS (JDEx)
                                            )
12                                          )

                    Plaintiff,
                                            )       DEFENDANT YURI VANETIK’S
13                                          )
                                            )       ANSWER TO COMPLAINT
14
       vs.                                  )
                                            )
                                            )
15                                          )
      YURI VANETIK, an individual,          )
                                                    DEMAND FOR JURY TRIAL
16                                          )       (F.R.Civ. Pro. Rule 38)
                                            )
17                Defendants.               )
                                            )
      _____________________________________ )
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23          Defendant Yuri Vanetik ( “Defendant”), for himself alone, hereby files his
24    answer to the complaint (“Complaint”) filed herein by plaintiff Pavel Fuks
25    (“Plaintiff”), as follows:
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     Case 8:19-cv-01212-FLA-JDE Document 23 Filed 10/09/19 Page 2 of 8 Page ID #:122



 1                              ANSWER TO COMPLAINT
 2          1. Answering the allegations contained in paragraphs 1, 2, and 3 of the
 3    Complaint, Defendant denies same.
 4          2. Answering the allegations contained in paragraphs 4, 5, 6 and 7 of the
 5    Complaint, Defendant has no information or belief sufficient to enable him to
 6    answer such allegations and, on such grounds, denies same.
 7          3. Answering the allegations contained in paragraphs 8 and 9 of the
 8    Complaint, Defendant admits same.
 9          4. Answering the allegations contained in paragraph 10 of the Complaint,
10    Defendant denies same.
11          5. Answering the allegations contained in paragraphs 11, 12, and 13 of the
12    Complaint, Defendant has no information or belief sufficient to enable him to
13    answer such allegations and, on such grounds, denies same.
14          6. Answering the allegations contained in paragraphs 14 of the Complaint,
15    Defendant admits same.
16          7. Answering the allegations contained in paragraphs 15, 16, 17, 18, 19, 20,
17    21, 22, and 23 of the Complaint, Defendant denies same.
18          8. Answering the allegations contained in paragraph 24 of the Complaint,
19    Defendant admits he sent Plaintiff a contract and invoice from Odyssey
20    Management LLC and asked him to pay the invoice. As to the remaining
21    allegations, Defendant denies same.
22          9.   Answering the allegations contained in paragraphs 25, 26, 27, 28, 29,
23    30, 31, 32, 33, 34, 35, 36, 37, 38, 39, 40, 41, 42, 43, and 44 of the Complaint,
24    Defendant denies same.
25          10. Answering the allegations contained in paragraph 45 of the Complaint,
26    Defendant has no information or belief sufficient to enable him to answer such
27    allegations and, on such grounds, denies same.
28          11. Answering the allegations contained in paragraphs 46, 47, 48, 49, 50, 51,
      52, 53, and 54 of the Complaint, Defendant denies same.
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     Case 8:19-cv-01212-FLA-JDE Document 23 Filed 10/09/19 Page 3 of 8 Page ID #:123



 1            12. Answering the allegations in paragraph 55 of the Complaint, Defendant
 2    admits that he used Medowood Management, LLC for a FARA filing with the
 3    United States and identified himself as an advisor to the same. As to the remaining
 4    allegations, Defendant denies same.
 5            13. Answering the allegations contained in paragraphs 56, 57, 58, 59, 60,
 6    61, 62, 63 and 64 of the Complaint, Defendant denies same.
 7            14. Answering the allegations contained in paragraph 65 of the Complaint,
 8    Defendant admits that F & M Trust filed a lawsuit against him in California for
 9    breach of written and oral contract and fraud. As to the remaining allegations,
10    Defendant denies same.
11            15. Answering the allegations contained in paragraphs 66 and 67 of the
12    Complaint, Defendant admits same.
13            16. Answering the allegations contained in paragraph 68 of the Complaint,
14    Defendant denies same.
15            17. Answering the allegations contained in paragraph 69 of the Complaint,
16    Defendant admits same.
17            18. Answering the allegations contained in paragraph 70, 71, 72, and 73
18     of the Complaint, Defendant has no information or belief sufficient to enable him
19    to answer such allegations and, on such grounds, denies same.
20            19. Answering the allegations contained in paragraph 74, defendant denies
21    same.
22            20. Answering the allegations contained in paragraph 75 of the Complaint,
23    Defendant realleges his responses contained in paragraphs 1 through 19 herein,
24    inclusive.
25            21. Answering the allegations contained in paragraphs 76, 77, 78, 79, 80, 81,
26    and 82 of the Complaint, Defendant denies same.
27            22. Answering the allegations contained in paragraph 83 of the Complaint,
28    Defendant realleges his responses contained in paragraphs 1 through 21 herein,
      inclusive.
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     Case 8:19-cv-01212-FLA-JDE Document 23 Filed 10/09/19 Page 4 of 8 Page ID #:124



 1          23. Answering the allegations contained in paragraphs 84, 85, 86, 87, 88,
 2    and 89 of the Complaint, Defendant denies same.
 3          24. Answering the allegations contained in paragraph 90 of the Complaint,
 4    Defendant realleges his responses contained in paragraphs 1 through 23 herein,
 5    inclusive.
 6          25. Answering the allegations contained in paragraphs 91, 92, 93, and 94 of
 7    the Complaint, Defendant denies same.
 8          26. Answering the allegations contained in paragraph 95 of the Complaint,
 9    Defendant realleges his responses contained in paragraphs 1 through 25 herein,
10    inclusive.
11          27. Answering the allegations contained in paragraphs 96, 97, 98, and 99 of
12    the Complaint, Defendant denies same.
13          28. Answering the allegations contained in paragraph 100 of the Complaint,
14    Defendant realleges his responses contained in paragraphs 1 through 27 herein,
15    inclusive.
16          29. Answering the allegations contained in paragraphs 101, 102, 103, 104
17    and 105 of the Complaint, Defendant denies same.
18          30. Answering the allegations contained in paragraph 106 of the Complaint,
19    Defendant realleges his responses contained in paragraphs 1 through 29 herein,
20    inclusive.
21          31. Answering the allegations in paragraphs 107, 108, 109, 110, 111, and
22    112 of the Complaint, Defendant denies same.
23                             FIRST AFFIRMATIVE DEFENSE
24                              (Failure to State Claim for Relief)
25          32. The Complaint and each and every claim therein, fails to state a claim
26    upon which relief may be granted. The requisite elements for the claim are not
27    present and/or have not been properly pled.
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     Case 8:19-cv-01212-FLA-JDE Document 23 Filed 10/09/19 Page 5 of 8 Page ID #:125



 1                             SECOND AFFIRMATIVE DEFENSE
 2                                         (Unclean Hands)
 3          33. The plaintiff’s claim should be barred by the doctrine of unclean hands.
 4                              THIRD AFFIRMATIVE DEFENSE
 5                                              (Laches)
 6          34. The plaintiff unreasonably delayed in filing the instant action, and thus
 7    Plaintiff’s claim should be barred by the doctrine of laches.
 8                             FOURTH AFFIRMATIVE DEFENSE
 9                                        (Superseding Cause)
10          35. Defendant alleges that the conduct of persons and/or entities other than
11    Defendant was a superseding or intervening cause of any damage, loss or injury
12    allegedly sustained by Plaintiff.
13                              FIFTH AFFIRMATIVE DEFENSE
14                                         (Estoppel)
15          36. Plaintiff’s claims are barred by the doctrine of estoppel
16                              SIXTH AFFIRMATIVE DEFENSE
17                                  (Statutes of Limitations)
18          37. Plaintiff’s claims are barred by the applicable statutes of limitations.
19                            SEVENTH AFFIRMATIVE DEFENSE
20                                           (Preemption)
21          38. Plaintiff’s state law claims are preempted by federal law.
22                               EIGHTH AFFIRMATIVE DEFENSE
23                                              (Consent)
24          39. Plaintiff consented to the Defendant’s alleged conduct.
25                                NINTH AFFIRMATIVE DEFENSE
26                              (Non-entitlement to Punitive Damages)
27          40. The Complaint, and each claim contained therein, fails to allege facts
28    sufficient to recover punitive damages.

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     Case 8:19-cv-01212-FLA-JDE Document 23 Filed 10/09/19 Page 6 of 8 Page ID #:126



 1                                TENTH AFFIRMATIVE DEFENSE
 2                                            (Not Material)
 3          41. Defendant alleges that he is not liable to Plaintiff because any alleged
 4    misrepresentations or omissions for which he is allegedly responsible were not
 5    material. Defendant did not make any misrepresentations.
 6                             ELEVENTH AFFIRMATIVE DEFENSE
 7                                         (Damages Uncertain)
 8          42. Defendant alleges that Plaintiff’s claimed damages, if any, are so
 9    speculative and uncertain as to deny Plaintiff any recovery.
10                              TWELFTH AFFIRMATIVE DEFENSE
11                                               (Release)
12          43. Defendant alleges that Plaintiff has engaged in conduct and activities
13    sufficient to constitute a release of any alleged breach of duty, or other conduct, if
14    any, and has thereby waived and relinquished any right to recovery sought in the
15    Complaint.
16                           THIRTEENTH AFFIRMATIVE DEFENSE
17                                     (Good Faith)
18          44. Any alleged conduct by Defendant complained of by Plaintiff was,
19    and is, undertaken in good faith for legitimate business reasons.
20                           FOURTEENTH AFFIRMATIVE DEFENSE
21                                     (Failure to Mitigate)
22          45. Plaintiff has failed to mitigate any damages he purports to have
23    suffered.
24                             FIFTEENTH AFFIRMATIVE DEFENSE
25                                     (Acquiescence)
26          46. Plaintiff’s complaint is barred in whole or in part by his own
27    acquiescence.
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     Case 8:19-cv-01212-FLA-JDE Document 23 Filed 10/09/19 Page 7 of 8 Page ID #:127



 1                              SIXTEENTH AFFIRMATIVE DEFENSE
 2                                       (No Reasonable Reliance)
 3            47. Defendant alleges that he is not liable to Plaintiff because any alleged
 4    misrepresentations or omissions the Plaintiff did not reasonably rely upon.
 5                             SEVENTEENTH AFFIRMATIVE DEFENSE
 6                                          (Standing)
 7            48. Defendant is informed and believes and thereupon alleges that Plaintiff
 8    lacks standing to assert the claims alleged in the Complaint.
 9                              EIGHTEENTH AFFIRMATIVE DEFENSE
10                                      (Undiscovered Defenses)
11            49. Defendant has insufficient knowledge or information upon which to
12     form a belief as to whether additional defenses are available. Defendant reserves
13    the right to assert any further or additional defenses upon receiving more complete
14    information regarding the matters alleged in the Complaint, through discovery or
15    otherwise.
16                                           PRAYER
17       WHEREFORE, Defendant prays for judgment against Plaintiff as follows:
18       1.       That Plaintiff take nothing by the Complaint, and that the same be
19    dismissed in its entirety with prejudice;
20       2.       For Defendant’s attorneys’ fees incurred herein;
21       3.       For Defendant’s cost of suit incurred herein; and
22       4.       For such other and further relief as the Court may deem just and proper.
23

24    DATED: October 9, 2019                   Respectfully submitted,
25                                             HAMILTON LAW OFFICES
26

27                                             /s/John M. Hamilton
                                               John M. Hamilton
28                                             Attorneys for Defendant Yuri Vanetik

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     Case 8:19-cv-01212-FLA-JDE Document 23 Filed 10/09/19 Page 8 of 8 Page ID #:128



 1                              DEMAND FOR JURY TRIAL
 2          Defendant, pursuant to Rule 38 of the Federal Rules of Civil Procedure,
 3    hereby demands a trial by jury of all issues so triable in the present action.
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 5    DATED: October 9, 2019                  HAMILTON LAW OFFICES
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 7                                            /s/John M. Hamilton
                                              John M. Hamilton
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                                              Attorneys for Defendant Yuri Vanetik
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